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 Fill in this information to identify the case:

  Debtor 1        Juan Carlos De Leon aka Juan Carlos De Leon Davila

  Debtor 2

 United States Bankruptcy Court for the: Southern District of Florida

 Case number :     17-15633-LMI



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                     12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of               Sun Homes/ Sun Communities                                          Court claim no. (if known):                                    3
     creditor:
     Last 4 digits of any number                                                                        Date of payment change:                   01/01/2021
     you use to identify the debtor's                                        7255                       Must be at least 21 days after date of
     account:                                                                                           this notice

                                                                                                        New total payment:                         $725.50
                                                                                                        Principal, interest, and escrow, if any


Part 1:       Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ X] No
      []     Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                       Describe the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment:                                 New escrow payment:



Part : 2       Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?

      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                      notice is not attached, explain why:

                      Current interest rate:                                        New interest rate:
                      Current Principal and interest payment:                       New principal and interest payment:



Part 3:       Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?

       []    No

       [ X] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modifica-
       tion
                 agreement. (Court approval may be required before the payment change can take effect).
 Reason for change: 2021 site rent will increase to the prevailing market rate for your site type
                             Current mortgage payment: $697.50                                      New mortgage payment: $725.50




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Debtor 1 Juan Carlos De Leon                                                          Case number (if known)             17-15633-LMI
                First Name              Middle Name           Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:


[]       I am the creditor.

[X]       I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


          /s/ Christopher Giacinto                                                          Date     09/30/2020
    Signature



Print:                       Christopher Giacinto                                Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                   Email              PLGinquiries@padgettlawgroup.com




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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties

                                                                                                01st
on the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________ day of

October, 2020.



                                                    /S/ Christopher Giacinto

                                                    ___________________________________
                                                    CHRISTOPHER GIACINTO
                                                    PADGETT LAW GROUP
                                                    6267 Old Water Oak Road, Suite 203
                                                    Tallahassee, FL 32312
                                                    (850) 422-2520 (telephone)
                                                    (850) 422-2567 (facsimile)
                                                    PLGinquiries@padgettlawgroup.com
                                                    Authorized Agent for Creditor




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                               SERVICE LIST (CASE NO. 17-15633-LMI)

Debtor
Juan De Leon aka Juan Carlos De Leon Davila
5612 Northwest 206 Terrace Lot 872
Opa Locka, FL 33055

Trustee
Nancy K. Neidich
www.ch13miami.com
POB 279806
Miramar, FL 33027

US Trustee
Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
(305) 536-7285




Official Form 410S1                     Notice of Mortgage Payment Change                 page 4
Royal Country             Case 17-15633-LMI             Doc 171         Filed 09/30/20     Page 5 of 5
5555 N.W. 202 Terrace
Miami, FL 33055
(305) 621-2270




    September 24, 2020




                  Blanca De Leon
                  5612 N.w. 206 Terr.
                  Miami, FL 33055



  Re: Notice of Lot Increase & Tax Notice Effective January 1, 2021 for Site № 872
  Dear Blanca,
  YOU ARE HEREBY NOTIFIED pursuant to Section 723.037 Florida Statutes, the rules of the Department of Business and
  Professional Regulation, and the prospectus for Royal Country, that the monthly lot rental amount for your manufactured
  home located at 5612 N.w. 206 Terr. will be increased as follows; effective January 1, 2021:


                          Charge Description      Current Rent           Change         New Rent
                                   Base Rent:          $697.50               $28.00       $725.50
                               Monthly Total:          $697.50               $28.00       $725.50

  Your site rent will increase to the prevailing market rate for your site type.
  Per Section 723.031(5)(c) Florida Statutes, any increase in ad valorem taxes and utility charges can be passed on to the
  homeowners on a pro‐rata basis if disclosed in your prospectus. Per your prospectus, “Governmental and Utility Charges,”
  which includes non-ad valorem & ad valorem property taxes and utility charges, may be passed on, on a pro‐rata basis.
  If a negotiating committee is appointed to represent the affected homeowners, the committee and community management
  shall meet upon written request. The meeting shall occur at a mutually convenient time and place, no later than 60 days before
  the effective date change of January 1, 2021. To permit scheduling, any written request for a statutory meeting should be
  delivered to community management at least fifteen days prior to any proposed meeting date.

                                                      Notice of Annual Tax
  In addition to the above monthly charges, the annual tax of $70.14 is due in full by January 1, 2021. Please note that if you are
  enrolled in the Automated Clearing House (ACH) program, the annual tax of $70.14 will be automatically withdrawn from your
  account if payment is not received prior to the first of January.
  If you have any questions regarding your rental account, please contact the community office at (305) 621-2270 during normal
  business hours. A list of the names and addresses of all affected homeowners is available at the community office upon
  request. This is the summary of material factors resulting in the increase in lot rental amount.
  We thank you for your continued residency.
  Sincerely,

  Brandon George
  Divisional Vice President




                                                                                                                 For Office Use Only
                                                                                                                     ROY No 872
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